             Case 4:03-cr-40021-JPG                      Document 242 Filed 06/26/12                     Page 1 of 3           Page ID
AO 2450                                                            #1737
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1                                                                                                               J:!- •
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                                     UNITED STATES DISTRiCT COURT                                                            JfJN           ,;;:/)
                                                          Southern District of Illinois                            soZ~t:'Yir, u     2 6 20,f?
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                                                                                                                         8  tv D/ 1St:
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case                       t:tv.,.glfYtc':-'cl Co
                             V.                                          (For Revocation of Probation or Supervised Release) tv 0rr:"tg;     ' -'-J:.tr
              Quentin C. McDONALD                                                                                                                   01s

                                                                         Case No. 4:03CR40021-005-JPG
                                                                         USM No. 05855-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                   Defendant's Attorney
THE DEFENDANT:
ri{ admitted guilt to violation of condition(s)         as alleged below                  of the term of supervision.
0   was found in violation of condition(s)             - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                     Violation Ended
Statutory                         The defendant committed the offense of Unlawful Delivery                      10/07/2009

                              · :. Qt!~~~~tr~,t~a,~a6Jtah~. . .·
Special                           The defendant was unsuccessfully discharged fom drug



       The defendant is sentenced as provided in pages 2 through _...-3--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1038                        06/21/2012

Defendant's YearofBirth:            1984

City and State of Defendant's Residence:
Brookport, IL 62910




                                                                                                            Date
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AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
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           Sheet lA
                                                                                                               Judgment-Page   _..,.2_ of      3
DEFENDANT: Quentin C. McDONALD
CASE NUMBER: 4:03CR40021-005-JPG

                                                      ADDITIONAL VIOLATIONS

                                                                                                                                       Violation
Violation Number               Nature of Violation                                                                                     Concluded
Standard# 2                    The defendant failed to submit monthly reports timely                                                   04/30/2009

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                                 i··~!!~,~~ c:} ••(:~:~· ~~ ,} '\·.· · ·~· · · .,   i   g / ···•··· .''   •:
Standard# 5                    The defendant failed to maintain regular employment

Standard-#:9 ·                ·';+b~,~e~~d~~~;~~~~~i~~~d.Yil~~~:~~~~i§e~..f~lop Withg{Jt ~~nJt!$s~"r:l· ·.·                    .,.
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  AO 245D                                                              #1739
                (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment- Page   _.,:::3_ of       3
  DEFENDANT: Quentin C. McDONALD
  CASE NUMBER: 4:03CR40021-005-JPG


                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
12 months




       'i/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant spend the last 6 months in a half-way house.




       'i/ The defendant is remanded to the custody of the United States Marshal.
       0    The defendant shall surrender to the United States Marshal for this district:
            0     at  - - - - - - - - - 0 a.m.                        0    p.m.    on
            0     as notified by the United States Marshal.

       0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0     before 2 p.m. on
            0     as notified by the United States Marshal.
            0     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
